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 6   Attorneys for Plaintiff Marisa Franz
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 8
                                  UNITED STATES DISTRICT COURT
 9
                               NORTHERN DISTRICT OF CALIFORNIA
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     GEMMA RIVERA and MARISA FRANZ,                       Case No. 5:22-cv-02137-EJD
11
     individually and on behalf of all others similarly
     situated,                                            DECLARATION OF L. TIMOTHY
12                                                        FISHER IN SUPPORT OF THE MOTION
                                                          TO CONDITIONALLY WITHDRAW AS
13                                       Plaintiffs,      COUNSEL FOR PLAINTIFF GEMMA
                                                          RIVERA
14          v.
                                                          Date: May 11, 2023
15   KNIX WEAR, INC.
                                                          Time: 9:00 a.m.
16                                        Defendant.      Judge: Hon. Edward J. Davila
                                                          Courtroom: 4
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     DECLARATION OF L. TIMOTHY FISHER
     CASE NO. 5:22-CV-02137-EJD
        Case 5:22-cv-02137-EJD Document 56-1 Filed 04/11/23 Page 2 of 2




 1          I, L. Timothy Fisher, declare and state as follows:
 2          1.      I am an attorney licensed, authorized, and admitted to practice law before this Court
 3   and the federal and state courts of the State of California. I am a partner in the law firm of Bursor
 4   & Fisher, P.A., and counsel of record for Plaintiffs Gemma Rivera and Marisa Franz in the above-
 5   mentioned action. I make this declaration in support of my firm’s Motion to Conditionally
 6   Withdraw as Counsel for Plaintiff Gemma Rivera. I have personal knowledge of the facts set forth
 7   in this declaration and, if called as a witness, I could and would testify competently thereto.
 8          2.      My firm is seeking to conditionally withdraw as counsel for Plaintiff Rivera in this
 9   action pursuant to California Rule of Professional Conduct 1.16(a)(4) and Local Rule 11-5(a). On
10   March 15, 2023, Ms. Rivera terminated my firm as her counsel in this action. As of the date of this
11   motion, Ms. Rivera has not retained new counsel to the best of my knowledge.
12          3.      Since Ms. Rivera terminated my firm as her counsel, I have forwarded documents
13   filed on the Court’s ECF system to her. If the Court grants this motion, I will continue to do that
14   until such time as Ms. Rivera retains new counsel and that counsel appears in this action.
15          I declare under the penalty of perjury under the laws of the United States and the State of
16   California that the foregoing is true and correct. Executed on April 11, 2023, at Walnut Creek,
17   California.
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                                                                   /s/ L. Timothy Fisher
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                                                                   L. Timothy Fisher
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     DECLARATION OF L. TIMOTHY FISHER                                                                      1
     CASE NO. 5:22-cv-02137-EJD
